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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

MONROE DIVISION
BRANDON MORRIS CIVIL ACTION NO. 3:19-cv-00266
VERSUS JUDGE TERRY A. DOUGHTY
GRAPHIC PACKAGING MAG. JUDGE KAREN L. HAYES

INTERNATIONAL, LLC

AFFIDAVIT OF PEGGY GROSS IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT
BY GRAPHIC PACKAGING INTERNATIONAL, LLC
STATE OF LOUISIANA
PARISH OF OUACHITA

BEFORE ME, the undersigned Notary Public in and for the parish and state aforesaid,
personally came and appeared PEGGY GROSS, who after being duly sworn, did depose and state
as follows:

1. My name is Peggy Gross and my position is Buyer II Mill for Graphic Packaging
International, LLC (“GPI”) at its paper mill facility located near West Monroe, Ouachita Parish,
Louisiana.

2. As a part of my duties for GPI, I am responsible for purchase orders and purchasing
issues with regard to GPI’s West Monroe paper mill facility, including, but not limited to the
recovery area.

3. That attached hereto as Exhibit “A” is the Purchase Order No. 4504845349 to M L
Smith Jr. Inc. dated January 2, 2018 for the demolition and rebuild of the evaporator area black

liquor reclaim tank.

4. That the Graphic Packaging International, Inc. General Terms and Conditions are a
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standard part of the Purchase Order and are attached to Purchase Order No. 4504845349 to M L

Smith Jr. Inc.

5. That the designation for M L Smith Jr. Inc. on the purchase order was the old name
for the contractor which is now known as M L Smith Jr., LLC and that M L Smith Jr., LLC is the
entity that the purchase order was directed to, did the work and was the entity that was paid by GPI.

6. That attached hereto as Exhibit “B” is one of the invoices from M L Smith, Jr. LLC
for the black liquor reclaim tank project which clearly states the work being performed was by M
L Smith, Jr. LLC and was under Purchase Order No. 4504845349, and that GPI paid M L Smith, Jr.
LLC under the attached invoice and in accordance with Purchase Order No. 4504845349.

7. Further Affiant sayeth not.

J) BEGEY GROSS

SWORN TO AND SUBSCRIBED before me, Notary Public, on this 9" day of September,
2019 in Ouachita Parish, Louisiana.

—«

     

TARY PUBLIC
C. A. Martin, II] Bar No. 08970

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Case 3:19-cv-00266-TAD-KLH Document17-2 Filed 09/10/19 Page 3 of 5 PagelID#: 71

Packaging

INTERNATIONAL

N%, Graphic PURCHASE ORDER
NY

ORDER D

PLEASE MAIL ORIGINAL INVOICE ANO SUPPLY COPY OF FREIGHT BILL
WHEN FREIGHT TERMS ARE “PREPAY AND ADD’

Page 1

of 2

 

JAN 02,2018

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
  

PURCHASE ORDER NO 4504845349
Send invoices to:
Attn: Accounts Payable " CHANGE NO TO PO NO | 4504845349 |
Graphic Packaging International Inc.
ACT E [ |
West Monroe, LA 71294-5800 REFERENCE NO
TEL: 31 8-362-2875 ; THE PO NUMBER MUST APPEAR ON ALL PACKAGES, SHIPPING DOCUMENTS, INVOICES
Invoices only: apinvoices@graphicpkg.com ANO CORRESPONDENCE. QUANTITY AND UNITS AS SHOWN BELOW AAUST APPEAR ON
(PDF or Tiff only) INVOICES AND PACKING LIST.
ML SMITH JR INC Graphic Packaging International Inc
V 12338 HIGHWAY 33 S fest Monroe Mill (Plant 0031)
E RUSTON LA 71270-3294 H |1000 Jonesboro Road
N USA I flest monroe LA 712392
D } PHONE: 318-255-4474 P | ATTN : Rublec
O | FAX: 318-255-8661
R | SAP Vendor No: 21236 T
Oo
SHIP VIA SHIPPING TERMS PAYMENT TERMS
OeliveredPlace (foreign loc)
Net 90 days
BUYER VENDOR MEMO
GROSSP
{TEM /QUANTITY |UNIT |MATERIAL/SERVICE MASTER VENDOR MATERIALNO |peL. DATE ‘UNIT [PER  [ORDIEXTENDED
SHORT TEXT/PURCHSE ORDER TEXT | PRICE | UNIT| TOTAL
10 1.000 | JOB MAR 02,2018
Demo & rebuild evap area liq reclaim tnk lemeaga.d 1 JOB 168,600.00
Provide materials, labor and supervision to demo and
rebuild the evap area biack liquor reclaim tank on a 5
days/week, 10 hr shifts schedule per MLS Quotation
Number $-02681-08-W (Rev. 2)
Start date will be coordinated with contractor as
design and drawings are submitted and approved, but
will begin approximately by the end of January 2018.
WBS Elmt. 31-17-026.C.4
Recipient Requisitioner
| RubleC RubleC
‘Item tax | 0.00
Line Item Total | | 168,600.00
Total net item value uso 168,600.00
| Total item tax USO 0.00
} Total USD 168,600.00
REFER PURCHASING INQUIRIES TO:
BUYER - NAME: Peggy Gross
Pegay Gross TEL: 318-362-2604

 

INSTRUCTIONS TO SELLER; THE CLAUSES PRINTED ON THE ATTACHMENT HEREOF AND ANY
SOPPLEMENTAL CONDITIONS ATTACHED HERETO ARE ESSENTIAL TERMS OF THIS ORDER.

FAX: 318-362-2838

 

      

 

 
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GRAPHIC PACKAGING INTERNATIONAL, LLC.
GENERAL TERMS AND CONDITIONS

In the following General Terms and Conditions, Graphic Packaging International, LLC is referred to as. SECTION 7: INDEPENDENT CONTRACTOR: Seller agrees that in the performance of this
#Buyert and the addressee named herein is referred to as SSeilerd. . ase Urcer, Seiler shall act 6s an independent Contractor and ail of its agents, and employees,
Acknowledgement, shipment or performance of any part of this Purchase Order will constitute and agents and employees of i's subcontractors, shall be subject solely to the control, supervisions and
acceplance by Seller of all Terms and Conditions hereof, including all documents incorporated herein authonty of Seiler.
by reference, without reservation, and snall Constitute the entire agreement between the parties — SECTION 8: FORCE MAJEURE: Neither Party shail be liable for delay in ils performance of ils
superseding ail prior agreements relating to the ee matter hereof Buyer hereby specitically objects Obligations and responsibinues under this Purchase Order due to causes beyond its contro! such as,
ta any alteration of this Purchase Order or to any additional or different terms or cond tions set forth in but not fimiled to, war, embargo,national emergency, insurrection or nots, acts of the public enemy,
any communication {rom Seller. in the event of any inconsistency between these General Terms and - fire, flood or other natural disaster, provided that said party has leken reasonable measures to notify
Conditions and those elsewhere set forth herein or any supplemental conditions altached hereto, the the other, in writing, of the delay. Faiture of subcontractors and inability to obisin matenials shell not be
face or such suppiemental conditions shall prevail. . considered as en excusable delay. If due to such cause, Seller shou! be unadie to meet all of its
SECTION 1: CHANGES AND TERMINATION: Buyer may by written Change Order make airy delivery commitments for items ordered hereunder es they become due, Seller shai} not discriminate

Ss in Ons. ase vi i ions to or deletions from the quantities of items or against Buyer or in favor of any other customer in making deliveries of such items. Hewever, if Buyer
services ordered or in the designs, specifications, or delivery schedules, but no additional charge will believes thal the delay or anticipated delay in Se!larts deliveries May impair its ability to meet its
be allowed uniess authorized in writing by Buyer. if any s change affects the delivery schedule or production schedules or may otherwise interfere with its
the amount to be paid by Buyer, seller shall notify Buyer immediately and negotiate an adjustment operation, Buyer may atits option, and without liability to Seiler, cancel outstanding deliveries
Buyer may at any time, by written Change Order, terminate this Purchase Order 2s to all or any portion hereunder wholly or in part
ofthe items then not shipped or services not performed, subject to any equitable adjustment between SECTION $: INSURANCE:
the perties as to any work or matenals then in progress, provided that agusiment shall not eaimom ‘a rements. Unless agreed to otherwise in writing by Buyer, 2! a minimum,
include any amount for anticipat y protils Nor any costs with respect to any items which are Sellers Seller shall proowe maintain the following insurance:

change the items or services purchased hereunder or the provisions of the Purchase Order unless il) Commercial General Liability # Including Independent Contractors (if any on Site), Contractual,
i ‘ated as a written Change Order in accordance with this section. roducts, Completed Operations, Personal & Adverlising Injury # $1,000, Pér occurrence

Standard stock. Any exchange of information or advice between the parties shail not cuthocize Seller to { Worker#'s Compensation @ statutory limits and Empioyers# Liabinty # $500,000 per occurrence.
incorpor:
Hf Seiler is in defauiit in dalivery or otherwise or has breached any terms or conditions of this Purchase Combined Sing’s Limit

Order, Buyer may terminate this Purchase Order in whois or in part without any edjusiment and, in i) Automobile Liability # $1,000,000 per occurrence Combined Single Limit
addition to any other remedy provided by law, may procure items or services, similar to those as to . Seiler Specific Requiremen's. Seller May also be requited lo procure and mainiain additional
which this Purchase Order is terminated and Seller shai! be liable to Buyer for any costs for such insurance, i 0, imited to additional types of inswance and greater limils of insurance
simitar items or services in excess of the price or prices specified herein, provided, however, that Seller agreed to by Seller during Buyers vendor registration and approval process on the Graphic
shail continue the performance of this Purchase Order fo the extent not temninated by Buyer. Packaging ier Registration Porta! at: httosvAvaw6.au sintetva comvgraphicpackagingregistration/
SECTION 2: INSPECTION: Buyer shail have the right, but not the obtigation, to inspect, either upon (#Vendor Registration#). These agreed upon insurance requirements are evidenced and verified by
feceim or, Upon reasonable nolice, al any location, all items and services or work in ss and lo the certificates of insurance provided by Seller to Buyer as required by Vendor Registration, which
reject those which do not conform to Buyer#s specifications, or if not so specified, which do not fequirements and certificates are incorporated herein by reference.
confocn to standard specifications. All costs incurred and damages sustained by Buyer as a result of Cc. Regsrerens for Ali Policies. Seller shall deliver to Buyer, prior to commencement of services or
fejections made under tha provisions hereof shall be for Seller#s account and Buyer may make retums the sale of tems upon renewal of policies, certificates of insurance evidencing the required limits
to Seller at Sellers expense. No such inspection by Buyer shall in any manner affect any of the and conteining the following language: #Graphic Packaging Intemational, LLC, its parent, subsidiar €s,
warranties of Seller or constitute a waiver of any of Buyerts rights hereunder or othenvise, and all and affiliates are listed as Additional Insured on all policies, except Workers# Compensaiion,
items and services are subject to Buyer#s inspection and right to reject notwithstanding prior payment Emptoyers# Liability and Professional Liability, where and to the extent wed by written contract or
SECTION 3: INDEMNITY: . written agreement with the Named insured. Unless prohitited by law, policies shali aisoinciude a

er shall indemnily, defend, protect and hold harmless Buyer, its employees, agents, servants, waiver of subsogation in favor of Buyer, policies of Seller shall ba primary end any insurance camied by
successors end assigns from and against any and al! losses, dam ages, injures, cisims, demands, Buyer Shall ba excess and non-contributory. The Commercial General Liability poticy shail include
expenses, inciuding legal fees and expenses, of whatever nature, ansing out of the condition independent contrectors, if ny on site# All policies shall be written by companies licensed in the state

{inciuding, but not limited to, latent and other Gefects and whalher or not discaverabie by it) of any item where work shall be performed or items are produced and have a minimum Ah Best Rating of #A-
soid to Buyer under this Purchase Order, or arising out of acts or omissions of Seller in performance of Vil#. The issuing company and/or the Seller shall endeavor to give Buyer at least thitty (20) days prior
its obligations hereunder, or arising out of the performance of any services by or on behalf of Seller for wiritlen notice of any cancellation or change in coverage, which adversely affects the nghts andlor

 

Buyer resulting in injuries to or death of any person or persons or damags to any property occasioned interests of Buyer,

by acts or omissions of Sailer, its officers, employees, agents or subcontractors, whether or not SECTION 10: LIEN WAIVERS: Upon request of Buyer end in exchange for interim or final payment,
negligent except when due to the sols negligence of Buyer. | eller shall execute on Dehall of iiself and optain from any of Seiter#s subcontractors, materiaimsen,

8. Setter shall indemnify, defend, protect and ho!d harmless Buyer, its employees, agents, servants, mechanics, laborers, any other p. . firms, corporations or entitias p ing any right to any fien
successors and as: from all costs, expenses, including reasonab'e altomeys# fees, damages or under applicable law, interim or final affidavits and lien waivers for any performance or work done
Claims arising out of infringement or claim of infri ment of any patent rights, trademark, tradename hereunder anki for any items so'd hereunder or services performed. Seller hereoy agrees to promptly

‘of copyright based on the sale, purchase or use the items or services covered by this Purchase pay any lien and Selter shail indemnify, protect and hold harmless Buyer, i's successors and assigns
Order. Seller further agrees without in any way limiting any other remedies Buyer, ils successors and rom all costs, expenses, including reasonabla allomays# fees, damages or clams arising out of eny of

assigns might have aga‘nst Seller, that in the event of any such Gaim, and if required by Buyer, Seller Seller?s subcontracts o disputes between Seller and it subcontractors or other said entities or from

 

 

 

shail at its expense and at no cost to the Buyer do one of the following: | failureof Seller to ‘Gromplly Pay its subcontractor and other entities pessessing any right to any lien.
1. Procure for Buyer the right of license to use and continue to use Said items end/or services; or SECTION 11: COMPLIANCE WITH LAW: Buyer hereby notifies Seller that Buyer is a government
2. Replace seid items or services with non-infringing items and/or services of {ike or superior kind, contractor, Consequently, and Buyer shall abide by the requirements of 41 CF!
productivity, efficiency, quality and value; or oo . . 60-1.4(2), 60-300.5{a} and 60-741.5(s). These regulations prohibit discrimination against

3. Modify said items and/or services so as to become non-nfringing. Should the items and/or services qualified individvats based on thelr status as Protected veterans o: individuals with

be modified, as provided herein, such modification shall not reduce the usefulness or productivity of disabiities, aad prohibit di gainst all individuals based on thelr race, color,

same, religion, sex, or national origin. Moreover, these regulations require that covered prims
SECTION 4: WARRANTIES: . . . . and sut teke aff iva action to employ andadvance in employment
A Seller expressly waranis thal title to all items sold to Buyer under this Purchase Order or services Individuals without regard to race, color, religion, sex, national origin, protected

performed by or on beha'f of Seller for Buyer under this Purchase Order wall pass to Buyer upon ar Gisebility.

delivery to Buyer free and clear of all liens, claims, security interests or encumbrances and that no Selter currently observes end will conlinue to observe tha requirements of the Drug Free Workplace
Materials, equrpment or sere incorporated into any items soid to Buyer Of any services hereunder Act of 1988. Selter will also comply with all provisions of the OSHA Hazard Communication Standard
performed by or on behalf of Seller for Buyer hereunder will have been acquired by Seller subject ta an (20) CFR 1910.4200, et seq } inciuding Selierts obsigation ta furnish any applicable material safety
agreement under which any interest therein or any encumbrance thereon is retained by the Seller data sheets, together with appropriate labels and employestraining and instruction materials.

thereof Seller will comply with requirements of the Fair Labor Standards Act of 1938, as amended. and all
which will survive delivery to the Buyer. appiicable United Stetes Department of Labor Reguiations promulgated thereunder or othanvise

yer. or
8. Seller expressty warrants that all items sold to Buyer hereunder and ail services pecormed by or on Gealing with wages and hours of work, and shall certify at time of delivery said compliance,
behalf of Seiter for oe ef hereunder shall conform to the specifications included or Scomperated in this Seller shall not, under any circumstances, in connection with the Work lo be performed hereunder,

 

Purchase Order and that all items sold to Buyer hereunder shail be fit end sufficient for the purpose cause or permit the
intended if Seller knows or has ceason to know the intended use, of merchantable ality, and new and discharge, emission, release, storage, di posal or transportation of any poilutant, hazardous
fres from defects in materiais or workmanship for a period of one {1} year from the dats of delivery or contaminant, toxic or other substance in violation of applicable laws, rules or regulations which are
compres of installation whichever is later. Setler fucther warrants thal al! work performed hereunder now or hereafter promulgated by Federal, state, or loca! a ies. Seller further egress to comply
shall be free from all defects or workmanship and material for a period of one (1} year from dzte of with any and a'l applicable federe!, state and loca! laws, orders and regulations not specifically
acceptance of such work by Buyer. Ail warranties sha'l survive inspections, test and acceptance by referenced herein.
Buyer, and Setler#s obligations under these warranties shall not be affected by inspection, test, SECTION 12; SALES AND/OR USE TAXES: Seller, as a contractor, will pay and be solely
accey Of use. if any such items or services are manufaclured o provided by others than the fesponsibis Tor eny eT sales ‘Or USS Laxes on all materials, supplies and equipment used in the
Seiter, Seller shal), in addition to the warranties of same made by Seller as above provided, transfer fumishing of the items and/or services which are the subject of this Purchase Order and othenvise in
and sssign such wamanties of the manufacturer or provider to Buyer. Seller agrees to replace or — the performance of Seller#s obtigations under this Purchase Order, all in accordance with appticabls
correct defects in any such items or services nol vpomiay to the foregoing warranties made by it law. Uniess otherwise provided herein, prices shown on this Purchase Order are daemed to include all
Promptly, without expense to Buyer, upon nolice by Buyer. in the event of fa lure by Setfer to correct taxes not expressly imposed by law on the Buyer of the items ordered hereunder.
defects in of replace Nenconforming items or services Fromptty, Buyer, aller reasonzdie notice to SECTION 13: STATUTORY EMPLOYIENT: If services are to be performed ai Buyers facilities in
Seiler, may make such conection of replacement and charge Seller for the costs incurred by the Buyer stale of Lomisiana, is age jat pursuant lo the provisions of Louisiana Revised Stelutes
thereby. | 23: LOS TIAN). that il is the intent and agreement of the parties hereto thal the relationship of the Buyer
SECTION 5: PASSAGE OF TITLE: Title to all items sold to Buyer hereunder and all services (camer) lo the direct emplayees and the statutory empioyees of the Seller (contractor) ba that of a

Cid OO 7 fer Tor Buyer hereunder shail pass lo the Buyer upon delivery of same Statulory employer.
by Seiler to buyer OAP Buyents plant designated by Buyer on the face hereof {incoterms 2010). All SECTION 14: COMPLETE AGREEMENT: This Purchase Order, inctuding the general terms and
risk of loss of damage to said items and services Prior to such delivery sha! fe!l upon Selier and if nions Heres’, represents enure agréement between Seller and Buyer with fespect to the items
items purchased hereunder are of an explosive, inflammabie, toxic or othenvise dangerous nature, sofd to Buyer under this Purchase Order and the performance of services by of on beha'f of Selier for
Seller sha!i defend and hold Buyer hammiless against any cla'ms asserted against Buyer on account of Buyer under this Purchase Order. Al! Prior egreements, representations, statements, nagotiations, and
any personal injury or property damages caused by such materials, or by the transportation thereof, undertakings, whether oral or written, are superseded hereby. .
prior to the completion of unloading at Buyer#s plant. SECTION 15: GOVERNING LAW: Soller and Buyer agree that the terms and provisions hereof
SECTION 6: SHIPIAENT ANO DELIVERY: Time is of the essence of this Purchase Order. Therefore, shal be cam and im) @ccording to the laws of the Stale of Georg’a.

 

Seller agrees To deliver al tems sold to Buyer hereunder and e!i services to be performed Pye on Company Name:
behalf of Seller for Buyer hereunder on or prior to the date designated by Buyer on the face hereof and

 

 

if any shipment or delivery is mada which is not in ali respects in accord wih this Order {including time Accepted by: —_

of abiomieat or delivery), Buyer reserves the right to reject such delivery and, if Buyer so elects, Buyer Authonzed Signature Printed Name
may treat this Order as repudiated by Seller and cancel any outstanding deliveries hereunder, without

presudice to Eupocts rights to claim damages or to enforce any other remedy provided by law. Seller Title: Date:

will ship said items perorm said services in a manner consistent with generel indus’ Practice so

3S to minimize any damage ta said items while in transit. The Purchase Order number designated by
Buyer on the face hereof must appear on ail invoices, packing lists, Packages, Cartons, containers and
Crates as regards each shipment made pursuant to this Purchase Order. Buyer is not responsibie for
any change foe packing, boxing, slorage or cartage

 
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| invoice
M.L. SMITH, JR., LLC

TANKS AND REERACTORIES Invoice#: 180203
Ruston, LA « (318) 255-4474 « wewmldi.com
Date: 02/12/2018

Job #: 1084380502

 

Billed To: Graphic Packaging Intrl, Inc. Project: Graphic Packaging - Field Black Liquor Reclaim Ta
Accounts Payable 1000 Jonesboro Rd.
PO Box 35800 West Monroe LA 71292
West Monroe LA 71294

 

Due Date: 05/13/2018 Terms: 90DY Customer PO: 4504845349

 

Description

 

 

Amount
EVAP AREA BLACK LIQUOR RECLAIM TANK 83,314.06
FIELD LABOR AND EQUIPMENT
FINAL INVOICE - JOB COMPLETE
Notes:
Non-Taxable Amount: 83,314.00
Taxable Amount: 0.00
Thank you for your business! Sales Tax: 0.00
EXHIBIT Amount Due 83,314.00

 

 

 

1B
